Case 8:06-cv-01640-JDW-TGW Document 158 Filed 11/16/08 Page 1 of 27 PageID 3130




                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION

  JOHN J. THORNTON,                   .
                                      .
          Plaintiff,                  .
                                      .
  vs.                                 .               Case No. 8:06-CV-1640-T27-TGW
                                      .
  J JARGON CO.,                       .
  a Florida corporation, and          .
  JEANETTE C. LINDERS,                .
  an individual,                      .
  TOC PRODUCTIONS, INC.,              .
  a Florida corporation.              .
                                      .
          Defendants.                 .
  ____________________________________/

                                PLAINTIFF'S TRIAL EXHIBIT LIST


   Old   Trial     Date         Date       Witness     Description                                   Objections
         Exhibit   Identified   Admitted
         #

                          TRIAL EXHIBITS EXPECTED TO BE INTRODUCED INTO EVIDENCE
   1     1                                             8/30/07 webpage print of The Official             *
                                                       Baby Boomer Qualifying Exam, Copyright
                                                       1995-2006. (30 questions) Thornton Depo
                                                       Ex.8
   5     2                                             8/30/07 webpage print of The Official             *
                                                       Baby Boomer Qualifying Exam, Copyright
                                                       1995-2001. ( 30 questions) Thornton
                                                       Depo Ex.2
   10    3                                             The Official Babyboomers Qualifying
                                                       Exam (27 questions) with 5 introductory
                                                       paragraphs (1st one begins "I recently
                                                       exchanged messages with someone...")
                                                       with personal info on Chicowitz.
                                                       Copyright 1995. JJT390-392 Thornton
                                                       Depo Ex.28; Thornton Declaration Ex. 1




  Key to Objections
  * = Object that the material is only relevant to the extent that it exhibits material covered by
  Copyright Registration No. TX 6-371-779; A=Authenticity, C=Document not complete;
  Cum.=Cumulative; T=Document was not timely disclosed; R=Relevancy, H=Hearsay;
  UP=Unduly Prejudicial; P=Privileged; S=Summary. A blank indicates no objection.
Case 8:06-cv-01640-JDW-TGW Document 158 Filed 11/16/08 Page 2 of 27 PageID 3131



   Old   Trial     Date         Date       Witness     Description                                   Objections
         Exhibit   Identified   Admitted
         #
   27    4                                             COMPOSITE: 9/20/99 Letter from J.
                                                       Thornton to Library of Congress WITH
                                                       attached copy of The Official Baby
                                                       Boomers Qualifying. (29 questions)
                                                       JJT437-440 Thornton Declaration Ex. 5
   28    5                                             COMPOSITE: 6/1/07 USCO Certificate of
                                                       Registration, dated 6/1/07, of works titled
                                                       The Official Baby Boomer Qualifying
                                                       Exam with corrected first publication date
                                                       of June 15, 1997. Registration No. TX 6-
                                                       564-642 [supplemental], provided to M.
                                                       Colitz. JJT0449-JJT0450 Thornton Depo
                                                       Ex.25
   32    6                                             4/18/02 Demand Letter from Chicowitz to
                                                       Jim Williams. JJT40 Thornton
                                                       Declaration Ex. 12
   30    7                                             9/16/00 Letter from A. Forbes to Reader
                                                       stating he removed the quiz. JJT292-295
                                                       Thornton Declaration Ex. 10
   40    8                                             Boilerplate for Demand Letter to                H, R
                                                       Sir/Madam... Request removal of quiz.
                                                       JJT290
   31    9                                             3/20/01 Demand Letter from J. Thornton to
                                                       A. Coll. JJT11-12 Thornton Depo Ex.9;
                                                       Thornton Declaration Ex. 11
   34    10                                            Demand letter - Email exchange between          R, H
                                                       Hershel Chicowitz and Richard Claffee
                                                       regarding the stealing of material from the
                                                       BoomerSpeak Essay. JJT5-7 Thornton
                                                       Depo Ex.21; Thornton Declaration Ex. 14.
   48    11                                            8/18/00 Demand Letter from Chicowitz to
                                                       CoffeeroomsW3PG. JJT291 Thornton
                                                       Depo Ex.19
   46    12                                            8/18/00 email exchange between M.               Cum
                                                       Pepper and Chicowitz re ownership of
                                                       material used website Coffeerooms.com.
                                                       JJT16-17
   29    13                                            Demand Letter. Letter from Chicowitz to
                                                       Pepper in receipt of Pepper's email dated
                                                       August 18th. JJT13-15 Thornton Depo
                                                       Ex.22; Thornton Declaration Ex. 9
   35    14                                            Email exchanges between Chicowitz and
                                                       L. Bumeder regarding the demand letter.
                                                       JJT309-310 Thornton Declaration Ex. 15




  Key to Objections                                  2
  * = Object that the material is only relevant to the extent that it exhibits material covered by
  Copyright Registration No. TX 6-371-779; A=Authenticity, C=Document not complete;
  Cum.=Cumulative; T=Document was not timely disclosed; R=Relevancy, H=Hearsay;
  UP=Unduly Prejudicial; P=Privileged; S=Summary. A blank indicates no objection.
Case 8:06-cv-01640-JDW-TGW Document 158 Filed 11/16/08 Page 3 of 27 PageID 3132



   Old   Trial     Date         Date       Witness     Description                                   Objections
         Exhibit   Identified   Admitted
         #
   101   15                                            5/19/06 Playbill for the musical
                                                       Menopause The Musical performed at
                                                       Tampa Bay Performing Arts Center in
                                                       Tampa, FL on 5/19/06, producer: theater.
                                                       [84 pages with Age Test] DEF0469-
                                                       DEF0511 Londre Depo. Ex. Def.28;
                                                       Miller Depo Ex.5
   55    16                                            6/12/06 email exchange between M. Miller
                                                       and D. Akins on subject: Fwd: Program
                                                       Update Info for all new Programs.
                                                       DEF0983 A. Gist Depo. Ex.Plt8
   59    17                                            Letter from Linders to Chicowitz stating         I, A
                                                       she does not remember where she found
                                                       the "The Age Test." JJT420 Linders
                                                       Depo Ex.14; Thornton Depo Ex.13;
                                                       Thornton Declaration Ex. 19.
   60    18                                            Letter, dated 6/12, from Chicowitz to            I, A
                                                       Linders stating thanks for the reply and
                                                       congrats on your show. JJT421 Linders
                                                       Depo Ex.15; Thornton Depo Ex.13;
                                                       Thornton Declaration Ex. 20.
   62    19                                            Sentence "we have been googling boomer          R, I, A
                                                       sites for four years and yours doesn't come
                                                       up. We work with these sites to do cross
                                                       promotions." JJT422 Linders Depo
                                                       Ex.17; Thornton Depo Ex.13; Thornton
                                                       Declaration Ex. 21.
   61    20                                            Chicowitz writes "We've been on the              I, A
                                                       Internet for almost nine years. There are
                                                       over 400 pages at BBHQ" Displays 9
                                                       boxes of Google web pages showing
                                                       BBHQ when doing word search ….”
                                                       JJT423-427 Linders Depo Ex.16;
                                                       Thornton Depo Ex.14; Thornton
                                                       Declaration Ex. 22
         21                                            5/8/07 Website printout of BBHQ Boomer
                                                       Essays: Menopause: Just for Laughs.
   9                                                   Thornton Depo Ex.12
   186   22                                            6/26/00 Actors' Equity Association
                                                       Agreement and Rules Governing
                                                       Employment Under the Midsize Theatre
                                                       Agreement. Period: 6/26/00 to 6/27/04.
                                                       DEF1384-1555
   187   23                                            4/16/04 Actors' Equity Association
                                                       Agreement and Rules Governing
                                                       Employment Under the Midsize Theatre
                                                       Agreement. Period: 4/16/04 to 4/16/05
                                                       DEF1300- DEF1383


  Key to Objections                                  3
  * = Object that the material is only relevant to the extent that it exhibits material covered by
  Copyright Registration No. TX 6-371-779; A=Authenticity, C=Document not complete;
  Cum.=Cumulative; T=Document was not timely disclosed; R=Relevancy, H=Hearsay;
  UP=Unduly Prejudicial; P=Privileged; S=Summary. A blank indicates no objection.
Case 8:06-cv-01640-JDW-TGW Document 158 Filed 11/16/08 Page 4 of 27 PageID 3133



   Old   Trial     Date         Date       Witness     Description                                   Objections
         Exhibit   Identified   Admitted
         #
   167   24                                            Menopause The Musical History List -              R
                                                       complete history list spreadsheet with
                                                       column headings: US Cities Open, Theatre,
                                                       Prod. Co, Opening Date, Closing Date,
                                                       Run Time thru 2/1/07, Theatre Seats x # of
                                                       shows, and Total Possible Seats sold.
                                                       DEF1958-1959
         25                                            12/7/07 Defendants' Fifth Supplemental            R
                                                       Responses to Plaintiff's First Set of
   166                                                 Interrogatories
   72    26                                            Playbill for Menopause the Musical
                                                       performed in Detroit at The Historical Gem
                                                       & Century Theatre, producer: TOC. [8
                                                       pages with Age Test] GEM1-8 Linders
                                                       Depo Ex.8; Miller Depo Ex.2
   77    27                                            Playbill for musical performed at Darden
                                                       Adventures Theatre, Orlando Science
                                                       Center, Orlando, FL., producer: TOC. [16
                                                       pages with Age Test] DEF988-1003
                                                       Londre Depo. Ex. Def.22
   75    28                                            Playbill for the musical Menopause The
                                                       Musical performed at Theater Four.
                                                       (location unknown), producer: GNO, Mark
                                                       Schwartz, Brent Peek. [7 pages; no pages
                                                       numbers; with Age Test] DEF427-431
                                                       Londre Depo. Ex. Def.31
   89    29                                            Playbill of MTM at E. 14th Street Theatre,
                                                       Playhouse Square Center, Cleveland, Oh.
                                                       [48 pages with Age Test] Londre Depo.
                                                       Ex. Def. 14
   91    30                                            Playbill for Menopause the Musical
                                                       performed at the Curtis Theatre in Brea,
                                                       CA on 9/11/03, producer: Entertainment
                                                       Events, Inc. and TOC. [20 pages with Age
                                                       Test] DEF121-131 DEF0107 Londre
                                                       Depo. Ex. Def.10
   106   31                                            Playbill for the musical Menopause The
                                                       Musical performed at the American
                                                       Heartland Theatre in Kansas City, MO on
                                                       3/24/04, producer: TOC. [66 pages with
                                                       Age Test] DEF375-407
   79    32                                            Playbill for Menopause the Musical
                                                       performed in Theater 39 San Francisco,
                                                       producer: TOC. [8 pages with Age Test]
                                                       DEF64-68 Londre Depo. Ex. Def.24




  Key to Objections                                  4
  * = Object that the material is only relevant to the extent that it exhibits material covered by
  Copyright Registration No. TX 6-371-779; A=Authenticity, C=Document not complete;
  Cum.=Cumulative; T=Document was not timely disclosed; R=Relevancy, H=Hearsay;
  UP=Unduly Prejudicial; P=Privileged; S=Summary. A blank indicates no objection.
Case 8:06-cv-01640-JDW-TGW Document 158 Filed 11/16/08 Page 5 of 27 PageID 3134



   Old   Trial     Date         Date       Witness     Description                                    Objections
         Exhibit   Identified   Admitted
         #
   87    33                                            Playbill for the musical Menopause The
                                                       Musical performed at The Grove Theatre
                                                       in Upland, CA in April 2006, producer:
                                                       TOC. [8 pages with Age Test] DEF534-
                                                       538 Londre Depo. Ex. Def.29
   81    34                                            Playbill for Menopause the Musical
                                                       performed at the Apollo Theater in
                                                       Chicago, IL., producer: YAC. [8 pages
                                                       with Age Test] DEF162-166 Londre
                                                       Depo. Ex. Def.12
         35                                            Playbill, Syracuse Stage, 2005 - 2006
   65                                                  season with age test, [Coles depo #6]
         36                                            Playbill, Syracuse Stage, 2005 - 2006
                                                       season with age test, 2nd printing extension
   66                                                  [Coles depo #7]
   67    37                                            Playbill for MTM at Syracuse Stage, Jun
                                                       19 – 29. [64 pages with Age Test] Londre
                                                       Depo Ex Def.15
         38                                            Playbill, Syracuse Stage, May 27 - June 29,
   110                                                 2008, without age test. [Coles Depo #14]
   247   39                                            7/17/07 print of Introduction sheet, etc for       R
                                                       “me” magazine. Londre Depo. Ex. Def.62
         40                                            9/24/07 J. Jargon and Linders' Responses           R
   163                                                 to Plaintiff's Second Set of Interrogatories
         41                                            Amended Verified Complaint in J. Jargon           T, R
   261                                                 v. Entertainment Events, 7/19/04
         42                                            Playbill, Syracuse Stage, summer 2006,
   64                                                  with age test [Coles Depo #5]

                                TRIAL EXHIBITS MAY BE INTRODUCED INTO EVIDENCE
   280   43                                            Demonstrative Trial Exhibit: Take the Age
                                                       Test vs. Baby Boomer Qualifying Exam
   281   44                                            Demonstrative Trial Exhibit: Companies of
                                                       Jeannette C. Linders
   282   45                                            Demonstrative Trial Exhibit: Third Party
                                                       Producers of "Menopause The Musical"
   283   46                                            Demonstrative Trial Exhibit: Programs
                                                       Distributed With The Age Test
   284   47                                            Demonstrative Trial Exhibit: Programs
                                                       Distributed With The Age Test (prior to
                                                       6/12/06)
   285   48                                            Demonstrative Trial Exhibit: Revenues
                                                       From Performances Where The Take The
                                                       Age Test was Distributed




  Key to Objections                                  5
  * = Object that the material is only relevant to the extent that it exhibits material covered by
  Copyright Registration No. TX 6-371-779; A=Authenticity, C=Document not complete;
  Cum.=Cumulative; T=Document was not timely disclosed; R=Relevancy, H=Hearsay;
  UP=Unduly Prejudicial; P=Privileged; S=Summary. A blank indicates no objection.
Case 8:06-cv-01640-JDW-TGW Document 158 Filed 11/16/08 Page 6 of 27 PageID 3135



   Old   Trial     Date         Date       Witness     Description                                   Objections
         Exhibit   Identified   Admitted
         #
   286   49                                            Demonstrative Trial Exhibit: Revenues
                                                       From Performances Where The Take The
                                                       Age Test was Distributed (Prior to
                                                       6/12/06)
   287   50                                            Demonstrative Trial Exhibit: Flash
                                                       Animation Detroit #1
   288   51                                            Demonstrative Trial Exhibit: Flash
                                                       Animation Detroit #2
   289   52                                            Demonstrative Trial Exhibit: Flash
                                                       Animation Orlando
   2     53                                            8/31/97 Article by Chicowitz titled The           *
                                                       Official Baby Boomer Qualifying Exam
                                                       with 29 questions printed from BBHQ
                                                       website. JJT432-436
         54                                            Print of webpage History Report from           T, H, A
                                                       website Wayback Machine on baby
   3                                                   boomer qualifying exam.
   4     55                                            8/30/07 webpage print of The Official             *
                                                       Baby Boomer Qualifying Exam, Copyright
                                                       1997-99. (30 questions) Thornton Depo
                                                       Ex.1
   6     56                                            8/30/07 webpage print of The Official             *
                                                       Baby Boomer Qualifying Exam, Copyright
                                                       1997-2000. (30 questions) Thornton
                                                       Depo Ex.3
   7     57                                            8/30/07 webpage print of The Official             *
                                                       Baby Boomer Qualifying Exam, Copyright
                                                       1995-2007. (30 questions) Thornton Depo
                                                       Ex.4
         58                                            3/9/07 Print from
                                                       www.BBHQ.com/bomresay.htm of The
   8                                                   Boomer Essays. DEF0916-DEF0921
   11    59                                            The Official Baby Boomers Qualifying
                                                       "Final" Exam (30 questions) with 3
                                                       introductory paragraphs (1st one begins
                                                       "Over 800 people...") with personal info on
                                                       Chicowitz. Copyright 1995. JJT399-401
                                                       Thornton Declaration Ex. 2
   12    60                                            The Official Baby Boomer Qualifying
                                                       "Final" Exam of 30 questions and with
                                                       introductory paragraph (over 800 people
                                                       have downloaded...) and with personal info
                                                       on Chicowitz. Copyright, 1995. JJT379-
                                                       381 Thornton Depo Ex.26
   13    61                                            The Official Baby Boomers Qualifying
                                                       "Final" Exam (30 questions) with 3
                                                       introductory paragraphs (1st one begins
                                                       "Over 800 people...") with personal info on
                                                       Chicowitz. Copyright 1995. JJT402-404
  Key to Objections                                  6
  * = Object that the material is only relevant to the extent that it exhibits material covered by
  Copyright Registration No. TX 6-371-779; A=Authenticity, C=Document not complete;
  Cum.=Cumulative; T=Document was not timely disclosed; R=Relevancy, H=Hearsay;
  UP=Unduly Prejudicial; P=Privileged; S=Summary. A blank indicates no objection.
Case 8:06-cv-01640-JDW-TGW Document 158 Filed 11/16/08 Page 7 of 27 PageID 3136



   Old   Trial     Date         Date       Witness     Description                                   Objections
         Exhibit   Identified   Admitted
         #
   14    62                                            The Official Baby Boomers Qualifying              *
                                                       Exam (29 questions) with 5 introductory
                                                       paragraphs (1st one begins "I recently
                                                       exchanged messages with someone...").
                                                       Copyright. JJT393-398 Thornton
                                                       Declaration Ex. 3
   15    63                                            "Behind the Scenes" of The Official Baby          *
                                                       Boomer Qualifying Exams. Article
                                                       includes the 29 questions and personal info
                                                       paragraph on Chicowitz. Copyright.
                                                       JJT410-415 Thornton Depo Ex.27;
                                                       Thornton Declaration Ex. 4
   16    64                                            The Official Baby Boomer Qualifying
                                                       "Final" Exam Official Answers,
                                                       Commentary and Bonus Questions (30
                                                       questions) with instructions. JJT405-408
   17    65                                            The Official Baby Boomer Qualifying               R
                                                       "Final" Exam Official Answers,
                                                       Commentary and Bonus Questions (30
                                                       questions). States "copyright" JJT382-
                                                       385
   18    66                                            The Official Baby Boomer Qualifying               R
                                                       "Final" Exam Official Answers to the
                                                       Questions in the Answers (30 answers).
                                                       Copyright. JJT409
   19    67                                            Official Answers to The Official                  R
                                                       BabyBoomers Qualifying Exam (27
                                                       questions) with personal data on
                                                       Chicowitz. States "copyright" JJT377-
                                                       378
   20    68                                            Official Answers to The Official                  R
                                                       BabyBoomers Qualifying Exam (27
                                                       questions) with personal info on
                                                       Chicowitz. Copyright 1995. JJT386-389
   21    69                                            12/14/99 The Official Baby Boomer                 *
                                                       Qualifying Exam. (30 questions) JJT1-4
   22    70                                            Spreadsheet itemizing payments received       R, C, H, S
                                                       from Internet users obtaining answers to
                                                       the quiz the period of 12/08/01
                                                       through4/23/07. JJT329-372 Thornton
                                                       Depo Ex.16
   23    71                                            CD containing Thornton's Log 1 from 1997
                                                       – 2002 JJT373
   24    72                                            CD containing Thornton's Log 1 from 2003
                                                       – 2005. JJT374
   25    73                                            CD containing Thornton's Log 1 from 2006
                                                       – 2007. JJT375
   26    74                                            CD containing emailed quiz answers from           R
                                                       customers. JJT376
  Key to Objections                                  7
  * = Object that the material is only relevant to the extent that it exhibits material covered by
  Copyright Registration No. TX 6-371-779; A=Authenticity, C=Document not complete;
  Cum.=Cumulative; T=Document was not timely disclosed; R=Relevancy, H=Hearsay;
  UP=Unduly Prejudicial; P=Privileged; S=Summary. A blank indicates no objection.
Case 8:06-cv-01640-JDW-TGW Document 158 Filed 11/16/08 Page 8 of 27 PageID 3137



   Old   Trial     Date         Date       Witness     Description                                     Objections
         Exhibit   Identified   Admitted
         #
   33    75                                            Demand Letter from Chicowitz to
                                                       members of
                                                       tripod.com/Dees_page/quiz.html of the
                                                       JavaScript of the exam titled Dee's Sixties
                                                       Quiz. JJT39 Thornton Declaration Ex.
                                                       13.
   36    76                                            6/6/02 email exchange between                     R, A
                                                       Support@supportwebsite.com and
                                                       Chicowitz re Chicowitz complaint to
                                                       Godaddy software. JJT277-281
   37    77                                            3/17/04 Demand Letter, from Chicowitz to
                                                       Larry Bumeder, addressing the plagiarized
                                                       material hosted on web pages identified
                                                       collectively as "Moe's Memorabilia" on the
                                                       domain www.wtv-zone.com. JJT0304-
                                                       JJT0308 Thornton Depo Ex.20; Thornton
                                                       Declaration Ex. 16
   38    78                                            Email from R. Fish to Chicowitz informs             H
                                                       of searches on Internet resulting in sites
                                                       displaying the quiz. JJT296-303
   39    79                                            Demand Letter from Chicowitz to
                                                       Sir/Madam re removal of material.
                                                       JJT283
   41    80                                            Email chain of three emails from H.
                                                       Chicowitz to individuals who signed
                                                       guestbooks at "rewind the fifties" -
                                                       Loti.com and at "Coffeerooms: A Certain
                                                       Age - www.w3pg.com. JJT104 Thornton
                                                       Depo Ex.18
   42    81                                            Messages from Chicowitz to individual               R
                                                       who signed a guestbook at "rewind the
                                                       fifties" - Loti.com and an individual who
                                                       signed a guestbook at an Internet site called
                                                       Coffee Rooms. JJT282
   43    82                                            Thank you note for prompt response from             H
                                                       Chicowitz to S. Simmerman. JJT86
                                                       Thornton Depo Ex.23
         83                                            Compilation of quizzes and Moe's article
                                                       title A Person Named "Boomer" posted on
                                                       webpage "wtv-
                                                       zone.com/moe/moesboomerabilia/page29.h
   44                                                  tml". JJT76-85
   45    84                                            Demand letter: Email exchange regarding             R
                                                       the stealing of material from the
                                                       BoomerSpeak Essay. JJT8




  Key to Objections                                  8
  * = Object that the material is only relevant to the extent that it exhibits material covered by
  Copyright Registration No. TX 6-371-779; A=Authenticity, C=Document not complete;
  Cum.=Cumulative; T=Document was not timely disclosed; R=Relevancy, H=Hearsay;
  UP=Unduly Prejudicial; P=Privileged; S=Summary. A blank indicates no objection.
Case 8:06-cv-01640-JDW-TGW Document 158 Filed 11/16/08 Page 9 of 27 PageID 3138



   Old   Trial     Date         Date       Witness     Description                                    Objections
         Exhibit   Identified   Admitted
         #
   47    85                                            8/18/00 email exchange between Rob Fish
                                                       and Chicowitz about finding a site that has
                                                       all three quizzes on
                                                       w.3pg.com/certain/trivia/index.html.
                                                       JJT87-88 Thornton Depo Ex.17
   49    86                                            8/19/00 Email exchange between R. Fish          R, H, A
                                                       and Chicowitz about finding multiple
                                                       websites displaying quiz w/o authorization.
                                                       JJT89-91
   50    87                                            4/23/02 Automatic Email response from           R, H, A
                                                       Lycos Abuse Support to Chicowitz re
                                                       complaint. JJT47
         88                                            6/14/02 Quizzes, trivial, humor, top 100        R, H, A
                                                       song list printed from Internet URL
                                                       www.wtv-
                                                       zone.com/moe/moesboomerabilia/page29.h
   51                                                  tml. JJT311-328
   52    89                                            E-mail string: first email dated 9/7/06 to
                                                       Jeanie Linders from Marti Miller of
                                                       Memopausethemusical.com on subject
                                                       regarding the Age Test in the play program
                                                       booklet. DEF745-746 Grant Depo Ex.
                                                       TOC9; Linders Depo Ex.9; Miller Depo
                                                       Ex.10; Thornton Declaration Ex. 18
   53    90                                            9/7/06 email exchange between M. Miller          Cum.
                                                       and J. Linders on subject: Fwd: Program
                                                       Update Info for all new Programs.
                                                       DEF0984-DEF0985 Grant Depo
                                                       Ex.TOC8; Miller Depo Ex.10
   54    91                                            6/12/06 email exchange between M. Miller
                                                       and D. Akins on subject: Fwd: Program
                                                       Update Info for all new Programs
                                                       DEF0987
   56    92                                            6/12/06 email exchange between M. Miller         Cum.
                                                       and D. Akins on subject: Fwd: Program
                                                       Update Info for all new Programs.
                                                       DEF0981-DEF0982
   57    93                                            6/12/06 email exchange between M. Miller         Cum.
                                                       and D. Akins on subject: FWD: Program
                                                       Update info for all new Programs.
                                                       DEF0979 Linders Depo Ex.12
   58    94                                            9/7/06 email exchange between M. Miller          Cum.
                                                       and J. Linders on subject: Fwd: Program
                                                       Update Info for all new Programs.
                                                       DEF0980 Linders Depo. Ex.13
         95                                            Playbill, Syracuse Stage, June 19 - July 29,
   63                                                  2007, TOC, with age test [Coles Depo #1]



  Key to Objections                                  9
  * = Object that the material is only relevant to the extent that it exhibits material covered by
  Copyright Registration No. TX 6-371-779; A=Authenticity, C=Document not complete;
  Cum.=Cumulative; T=Document was not timely disclosed; R=Relevancy, H=Hearsay;
  UP=Unduly Prejudicial; P=Privileged; S=Summary. A blank indicates no objection.
Case 8:06-cv-01640-JDW-TGW Document 158 Filed 11/16/08 Page 10 of 27 PageID 3139



   Old   Trial     Date         Date       Witness     Description                                   Objections
         Exhibit   Identified   Admitted
         #
   68    96                                            Playbill for MTM at the Syracuse Stage
                                                       6/19 – 7/29 / 2006 – 2007 season,
                                                       producer: Theater. [64 pages with Age
                                                       Test] Londre Depo. Ex. Def.35; Clouse
                                                       Depo Ex.TOC18; Grant Depo Ex. TOC18;
                                                       Linders Depo Ex.20
   69    97                                            Playbill for 2004 Menopause the Musical           T
                                                       performed in Detroit at The Historical Gem
                                                       & Century Theatre, producer: TOC. [16
                                                       pages with Age Test] GEM22-37
   70    98                                            Playbill for 2005 Menopause the Musical           T
                                                       performed in Detroit at The Historical Gem
                                                       & Century Theatre, producer: TOC. [16
                                                       pages with Age Test] GEM38
   71    99                                            Playbill for 2006 Menopause the Musical           T
                                                       performed in Detroit at The Historical Gem
                                                       & Century Theatre, producer: TOC. [8
                                                       pages with Age Test] GEM54-61
   73    100                                           Playbill for the musical Menopause The
                                                       Musical performed at the Darren
                                                       Adventure Theatre, Orlando Science
                                                       Center, in Orlando, FL in 2004, producer:
                                                       TOC. [16 pages with Age Test] DEF525-
                                                       533 Londre Depo. Ex. Def.21; Grant
                                                       Depo Ex. TOC4; Miller Depo Ex.1
   74    101                                           Playbill for the musical Menopause The
                                                       Musical performed at the John Rita
                                                       Lowndes Shakespeare Center, Margeson
                                                       Theatre in Orlando, FL during the period
                                                       of April - June, 2003, producer: TOC. [24
                                                       pages with Age Test] DEF512-524
                                                       Londre Depo. Ex. Def.32; Clouse Depo
                                                       Ex.TOC21; Grant Depo Ex. TOC21;
                                                       Lenders Depo Ex.9; Miller Depo Ex.6
   76    102                                           Playbill for the musical Menopause The
                                                       Musical performed at Cuillo Center for the
                                                       Arts in West Palm Beach, FL during Fall
                                                       2002, producer Theater/TOC. [32 pages
                                                       with Age Test] DEF539-555 Londre
                                                       Depo. Ex. Def.33; Gardner Depo Ex. Plt14.
   78    103                                           Playbill for Menopause the Musical
                                                       performed at Darden Adventure in
                                                       Orlando, producer: Linders. [8 pages with
                                                       Age Test] DEF32-36 Londre Depo. Ex.
                                                       Def.20
   80    104                                           Playbill for Menopause the Musical
                                                       performed in Charlotte, NC., producer:
                                                       TOC. [8 pages with Age Test] DEF157-
                                                       161 Londre Depo. Ex. Def.11

  Key to Objections                                 10
  * = Object that the material is only relevant to the extent that it exhibits material covered by
  Copyright Registration No. TX 6-371-779; A=Authenticity, C=Document not complete;
  Cum.=Cumulative; T=Document was not timely disclosed; R=Relevancy, H=Hearsay;
  UP=Unduly Prejudicial; P=Privileged; S=Summary. A blank indicates no objection.
Case 8:06-cv-01640-JDW-TGW Document 158 Filed 11/16/08 Page 11 of 27 PageID 3140



   Old   Trial     Date         Date       Witness     Description                                   Objections
         Exhibit   Identified   Admitted
         #
   82    105                                           Playbill for Menopause the Musical at The
                                                       Historic Gem & Century Theatre in
                                                       Detroit, MI., producer: TOC. [8 pages
                                                       with Age Test] DEF213-217 Londre
                                                       Def. Depo Ex. 17
   83    106                                           Playbill for MTM from The Historic Gem
                                                       & Century Theatre, Detroit, MI, producer:
                                                       TOC. [8 pages with Age Test] DEF763-
                                                       770 Londre Depo. Ex. Def.17a; Linders
                                                       Depo Ex.18; Miller Depo Ex.3
   84    107                                           Playbill for the musical Menopause The
                                                       Musical performed at the American
                                                       Cabaret Theatre in Indianapolis, IN.,
                                                       producer: TOC. [8 pages with Age Test]
                                                       DEF319-323 Londre Def. Depo Ex. 18
   85    108                                           Playbill for the musical Menopause The
                                                       Musical performed at the Coronet Theatre
                                                       in Los Angeles, CA., producer: TOC-LA.
                                                       [8 pages with Age Test] DEF408-412
                                                       Londre Def. Depo Ex. 19
   86    109                                           Playbill for the musical Menopause The
                                                       Musical performed at the Marcus
                                                       Center/Vogel Hall in Milwaukee, WI.,
                                                       producer: TOC. [8 pages with Age Test]
                                                       DEF413-417 Londre Def. Depo Ex. 19a
   88    110                                           Playbill for the musical Menopause The
                                                       Musical performed as part of the
                                                       Menopause the Musical Aging Out Loud
                                                       Tour in Washington, DC during 2006,
                                                       producer: TOC. [12 pages with Age Test]
                                                       DEF556-562 Londre Depo. Ex. Def.34
   90    111                                           Playbill for Menopause the Musical
                                                       performed at the E. 14th Street Theater in
                                                       Cleveland, OH., producer: theater. [50
                                                       pages with Age Test] DEF167-191
                                                       Londre Depo. Ex. Def.13; A. Gist Depo.
                                                       Ex.Plt6; Linders Depo. Ex.12.
   92    112                                           10/13/04 Playbill for Menopause the
                                                       Musical performed at Society Hill
                                                       Playhouse in Philadelphia on 10/13/04,
                                                       producer: the Glists, the Greenblatts, the
                                                       Cuillos in association with TOC, Society
                                                       Hill Playhouse and Phillip Roger Roy. [18
                                                       pages with Age Test] DEF0046-DEF0054
                                                       Gardner Depo. Ex.Plt16; Linders Depo Ex.
                                                       4




  Key to Objections                                 11
  * = Object that the material is only relevant to the extent that it exhibits material covered by
  Copyright Registration No. TX 6-371-779; A=Authenticity, C=Document not complete;
  Cum.=Cumulative; T=Document was not timely disclosed; R=Relevancy, H=Hearsay;
  UP=Unduly Prejudicial; P=Privileged; S=Summary. A blank indicates no objection.
Case 8:06-cv-01640-JDW-TGW Document 158 Filed 11/16/08 Page 12 of 27 PageID 3141



   Old   Trial     Date         Date       Witness     Description                                    Objections
         Exhibit   Identified   Admitted
         #
   93    113                                           10/13/04 Playbill for Menopause the
                                                       Musical performed at Society Hill
                                                       Playhouse in Philadelphia on 10/13/04,
                                                       producer: the Glists, the Greenblatts, the
                                                       Cuillos in association with TOC, Society
                                                       Hill Playhouse and Phillip Roger Roy. [16
                                                       pages with Age Test] DEF0037-DEF0045
                                                       Londre Depo. Ex. Def.23 composite
                                                       DEF37-54; Gardner Depo. Ex. Plt15;
                                                       Linders Depo Ex. 5
   94    114                                           Playbill (2004) of MTM performed at              R, A
                                                       Society Hill Playhouse, Philadelphia, PA.,
                                                       with Advertising Rate sheet, producer:
                                                       TOC. [16 pages with Age Test] Londre
                                                       Depo. Ex. Def.48.
   95    115                                           9/17/07 note from L. Londre to W. Pollack
                                                       with MTM program at Syracuse Stage for
                                                       6/19-7/29 / 2006 – 2007 season, Stages
                                                       program used at Society Hill Playhouse in
                                                       2004, producer: the Glists, the Greenblatts,
                                                       the Cuillos in association with TOC,
                                                       Society Hill Playhouse, and Phillip Roger
                                                       Roy. [16 pages with Age Test] Londre
                                                       Depo. Ex. Def.63 composite.
   96    116                                           Playbill for MTM, Stages, Society Hill
                                                       Playhouse, Philadelphia, PA., producer: the
                                                       Glists, the Greenblatts, the Cuillos in
                                                       association with TOC, Society Hill
                                                       Playhouse, and Phillip Roger Roy. [16
                                                       pages with Age Test]; Program for MTM
                                                       at Syracuse Stage, 6/19 – 7/29 / 2006-2007
                                                       season, producer: theater. [64 pages with
                                                       Age Test] Londre Depo. Ex. Def.57
                                                       composite.
   97    117                                           1/10/06 Playbill for the musical
                                                       Menopause The Musical performed at
                                                       Theater 4301in Scottsdale, AZ on 1/10/06,
                                                       producer: Entertainment Events and TOC.
                                                       [24 pages; no page numbers; with Age
                                                       Test] DEF0563-DEF0575 Londre Depo.
                                                       Ex. Def.25
   98    118                                           3/21/06 Playbill for Menopause the
                                                       Musical performed at the Playhouse at
                                                       West Port Plaza in St. Louis on 3/21/06,
                                                       producer: Gfour, the Glists, the
                                                       Greenblatts, the Cuillos in association with
                                                       TOC. [28 pages; no page numbers with
                                                       Age Test] DEF0093-DEF0107 Londre
                                                       Depo. Ex. Def.27; A. Gist Depo. Ex.Plt3

  Key to Objections                                 12
  * = Object that the material is only relevant to the extent that it exhibits material covered by
  Copyright Registration No. TX 6-371-779; A=Authenticity, C=Document not complete;
  Cum.=Cumulative; T=Document was not timely disclosed; R=Relevancy, H=Hearsay;
  UP=Unduly Prejudicial; P=Privileged; S=Summary. A blank indicates no objection.
Case 8:06-cv-01640-JDW-TGW Document 158 Filed 11/16/08 Page 13 of 27 PageID 3142



   Old   Trial     Date         Date       Witness     Description                                   Objections
         Exhibit   Identified   Admitted
         #
   99    119                                           Playbill for Menopause the Musical
                                                       performed at the 14th Street Playhouse at
                                                       the Woodruff on 5/11/05, producer: Gfour,
                                                       the Cuillos in association with TOC. [24
                                                       pages with Age Test] DEF0001-DEF0013
                                                       Londre Depo. Ex. Def.9; A. Gist Depo.
                                                       Ex.Plt5; Linders Depo Ex. 3
   100   120                                           5/11/05 Playbill for Menopause the
                                                       Musical performed at the 14th Street
                                                       Playhouse at the Woodruff on 5/11/05,
                                                       producer: Gfour, the Cuillos in association
                                                       with TOC. [24 pages with Age Test]
                                                       DEF0108-DEF0120 A. Gist Depo. Ex.
                                                       Plt2
   102   121                                           Playbill for MTM at Society Hill
                                                       Playhouse in Philadelphia, PA., producer:
                                                       Gfour, the Glists, the Greenblatts in
                                                       association with TOC. [8 pages w/o Age
                                                       Test] DEF1962-1969
   103   122                                           Playbill for Menopause the Musical at The
                                                       New Denver Civic Theatre in Denver, CO.
                                                       , producer: TOC. [12 pages with Age Test]
                                                       DEF201-207 Londre Def. Depo Ex. 16
   104   123                                           9/24/05 Playbill for Menopause the
                                                       Musical performed at the ACT theatre in
                                                       Seattle on 9/24/05, producer: Gfour, the
                                                       Cuillos in association with TOC. [24
                                                       pages, no page numbers; with Age Test]
                                                       DEF0069-DEF0092 Londre Depo. Ex.
                                                       Def.26; A. Gist Depo Ex. Plt4; Grant
                                                       Depo Ex. TOC5; Clouse Depo.
                                                       Ex.Jargon3; Grant Depo. Ex.Jargon3
   105   124                                           9/17/07 letter from L. Londre to W.            T, R, H
                                                       Pollack with MTM programs from
                                                       Syracuse Stage and from Society Hill.
   107   125                                           Playbill for the musical Menopause The
                                                       Musical performed at the Strand Capital
                                                       Performing Arts Center in York, PA on
                                                       9/23/03, producer: Entertainment Events,
                                                       Inc. and TOC. [98 pages with Age Test]
                                                       DEF324-374 Londre Depo. Ex. Def.30
         126                                           Playbill, Tampa Bay Performing Acts, with
                                                       age test, as attachment to Declaration of
                                                       John Thornton in Summary of Plaintiff's
                                                       Motion for Partial Summary Judgment
   108                                                 filed 11/15/07
         127                                           Playbill, Syracuse Stage, June 19 - July 29
                                                       of 2006 - 2007 season, 2nd printing,
   109                                                 without age test. [Coles depo #9]

  Key to Objections                                 13
  * = Object that the material is only relevant to the extent that it exhibits material covered by
  Copyright Registration No. TX 6-371-779; A=Authenticity, C=Document not complete;
  Cum.=Cumulative; T=Document was not timely disclosed; R=Relevancy, H=Hearsay;
  UP=Unduly Prejudicial; P=Privileged; S=Summary. A blank indicates no objection.
Case 8:06-cv-01640-JDW-TGW Document 158 Filed 11/16/08 Page 14 of 27 PageID 3143



   Old   Trial     Date         Date       Witness     Description                                   Objections
         Exhibit   Identified   Admitted
         #
   111   128                                           Playbill for 2007 Menopause the Musical        A, T, H
                                                       at Scott Recital Hall in Omaha, Nebraska,
                                                       producer: TOC. [4 pages; no page
                                                       numbers; w/o Age Test] OPA1-1.03
   112   129                                           Playbill for Menopause the Musical
                                                       (location unknown), producer: TOC. [5
                                                       pages w/o Age Test] DEF196-200
                                                       Linders Depo. Ex.21; Miller Depo Ex.16
   113   130                                           Playbill for Menopause the Musical
                                                       performed in Grand Rapids, Mi, Saginaw,
                                                       MI, East Lansing, MI and Toledo, OH
                                                       during the Winter Tour 2007, TOC
                                                       producer. [4 pages; no page numbers; w/o
                                                       Age Test] DEF14-17
   114   131                                           Playbill for Menopause the Musical
                                                       performed at the Capital Center for the
                                                       Arts in Concord, NH, producer: TOC. [4
                                                       pages; no page numbers; w/o Age Test]
                                                       DEF192-195
   115   132                                           Playbill for Menopause the Musical at The
                                                       Temple for Performing Arts in Des
                                                       Moines, Iowa., producer: TOC. [8 pages
                                                       w/o Age Test] DEF208-212
   116   133                                           Playbill for MTM from Turing Stone
                                                       Resort & Casino in Verdona, NY,
                                                       producer: TOC. [4 pages; no page
                                                       numbers; w/o Age Test] DEF1561-1564
   117   134                                           Playbill for MTM from John d. Archbold
                                                       Theatre in Syracuse, NY, producer: TOC.
                                                       [4 pages; no page numbers; w/o Age Test]
                                                       DEF1565-1568
   118   135                                           Playbill for MTM from The Geva Theatre
                                                       in Rochester, NY , producer: TOC. [4
                                                       pages; no page numbers; w/o Age Test]
                                                       DEF1569-1572
   119   136                                           Playbill for MTM from Barrow-Civic
                                                       theatre in Franklin, PA. producer: TOC. [4
                                                       pages; no page numbers; w/o Age Test]
                                                       DEF1614-1617
   120   137                                           Playbill for MTM from CityStage in
                                                       Springfield, MA., producer: TOC. [4
                                                       pages; no page numbers; w/o Age Test]
                                                       DEF1618-1621
   121   138                                           Playbill for MTM from The Ogunquit
                                                       Playhouse in Ogunquit, ME, producer:
                                                       TOC. [4 pages; no page numbers; w/o Age
                                                       Test] DEF1642-1645



  Key to Objections                                 14
  * = Object that the material is only relevant to the extent that it exhibits material covered by
  Copyright Registration No. TX 6-371-779; A=Authenticity, C=Document not complete;
  Cum.=Cumulative; T=Document was not timely disclosed; R=Relevancy, H=Hearsay;
  UP=Unduly Prejudicial; P=Privileged; S=Summary. A blank indicates no objection.
Case 8:06-cv-01640-JDW-TGW Document 158 Filed 11/16/08 Page 15 of 27 PageID 3144



   Old   Trial     Date         Date       Witness     Description                                    Objections
         Exhibit   Identified   Admitted
         #
   122   139                                           Playbill for MTM from Fort Pierce, FL
                                                       2007, producer: TOC. [4 pages; no page
                                                       numbers; w/o Age Test] DEF1654-1657
   123   140                                           Playbill for MTM from Merrimack Hall
                                                       Performing Arts Center in Huntsville, AL.,
                                                       producer: TOC. [4 pages; no page
                                                       numbers; w/o Age Test] DEF1658-1661
   124   141                                           Playbill for MTM from Fall Tour - 2007
                                                       {Harrisburg, PA; Easton, PA; Scranton,
                                                       PA; Binghamton, NY; Woonsocket, RI;
                                                       Northampton, MA; Lowell, MA; Concord,
                                                       NH}, producer: TOC. [4 pages; no page
                                                       numbers; w/o Age Test] DEF1662-1665
   125   142                                           Playbill for MTM from Fall Tour - 2007
                                                       {Saginaw, MI; Port Huron, MI; East
                                                       Lansing, MI; Grand Rapids, MI; Sandusky,
                                                       OH; Toledo, OH; Franklin, PA; Canton,
                                                       OH; Charleston, WV}, producer: TOC.
                                                       [four pages; no page numbers; w/o Age
                                                       Test] DEF1666-1669
   126   143                                           Playbill for MTM from Overture Center
                                                       for the Arts - Capitol Theater, 3/6 - 18/07,
                                                       in Madison, WI., producer: TOC. [32
                                                       pages w/o Age Test] DEF1750-1781
   127   144                                           Playbill for MTM from The Grand 1894
                                                       Opera House in Galveston, TX., producer:
                                                       TOC. [4 pages; no page numbers w/o Age
                                                       Test] DEF1798-1801
   128   145                                           Playbill for MTM from Cuillo Centre for
                                                       the Arts in West Palm Beach, FL.,
                                                       producer: TOC. 3/07 [8 pages w/o Age
                                                       Test] DEF1802-1809
   129   146                                           Playbill for MTM from Capitol Center for
                                                       the Arts in Concord, NH., 10/06, producer:
                                                       TOC. [4 pages; no page numbers w/o Age
                                                       Test] DEF1810-1813
   130   147                                           Playbill for MTM from The Plaza Theatre
                                                       in Orlando, FL., 9/06, producer: TOC. [8
                                                       pages w/o Age Test] DEF1814-1821
   131   148                                           Playbill for MTM from The Plaza Theatre
                                                       in Orlando, FL., 2/07, producer: TOC. [8
                                                       pages w/o Age Test] DEF1822-1829
   132   149                                           Playbill for MTM from The Plaza Theatre
                                                       in Orlando, FL., 4/06, producer: TOC. [8
                                                       pages w/o Age Test] DEF1830-1837
   133   150                                           9/26/06 Playbill for MTM from
                                                       Eichelberger Performing Arts Center in
                                                       Hanover, PA., producer: TOC. [20 pages;
                                                       w/o Age Test] DEF1662-DEF1641

  Key to Objections                                 15
  * = Object that the material is only relevant to the extent that it exhibits material covered by
  Copyright Registration No. TX 6-371-779; A=Authenticity, C=Document not complete;
  Cum.=Cumulative; T=Document was not timely disclosed; R=Relevancy, H=Hearsay;
  UP=Unduly Prejudicial; P=Privileged; S=Summary. A blank indicates no objection.
Case 8:06-cv-01640-JDW-TGW Document 158 Filed 11/16/08 Page 16 of 27 PageID 3145



   Old   Trial     Date         Date       Witness     Description                                    Objections
         Exhibit   Identified   Admitted
         #
   134   151                                           5/16/04 Playbill for the musical
                                                       Menopause The Musical performed at the
                                                       Hot Springs Civic & Convention Center
                                                       Horner Hall in Hot Springs, AR on
                                                       5/16/2004, producer: TOC. [8 pages w/o
                                                       Age Test] DEF0314- DEF 0318
   135   152                                           9/27/06 Playbill for the musical
                                                       Menopause The Musical performed at the
                                                       Center for the Arts, in Easton, PA on
                                                       9/27/2006, producer: theater and TOC. [97
                                                       pages; w/o Age Test] DEF0218-DEF0314
   136   153                                           Playbill for MTM from State Theatre in
                                                       Easton, PA., producer: TOC. 9/27 -
                                                       10/1/06 [96 pages w/o Age Test]
                                                       DEF1846-1941
   137   154                                           ME magazine, March/April 2007 issue.            H, R, T
                                                       OPA2-2.67
   138   155                                           Playbill for MTM from Times Union in               T
                                                       Jacksonville, FL, producer: Gfour, the
                                                       Glists, the Greenblatts, the Cuillos in
                                                       association with TOC. [8 pages w/o Age
                                                       Test] TUC9-16
   139   156                                           Playbill for MTM from Times Union in
                                                       Jacksonville, FL, producer: Gfour, the
                                                       Glists, the Greenblatts, the Cuillos in
                                                       association with TOC. [8 pages w/o Age
                                                       Test] TUC1-8 Miller Depo Ex.4
   140   157                                           Playbill for MTM from Syracuse Stage
                                                       (Jun 19 - Jul 29, 2007) in Syracuse, NY.,
                                                       producer: theater. [64 pages w/o Age Test]
                                                       DEF1670-1733
   141   158                                           5/31/06 Playbill for Menopause the
                                                       Musical performed in Portland Center for
                                                       Performing Arts in Portland, OR on
                                                       5/31/06, producer: Gfour, the Glists, the
                                                       Greenblatts, the Cuillos in association with
                                                       TOC. [18 pages w/o Age Test] DEF0055-
                                                       DEF0063
   142   159                                           2/23/06 Playbill for Menopause the
                                                       Musical performed in Las Vegas 2/23/06,
                                                       producer: Gfour, the Cuillos in association
                                                       with TOC. [18 pages w/o Age Test]
                                                       DEF0023-DEF0031
   143   160                                           Playbill for the musical Menopause The
                                                       Musical performed at the Long Wharf
                                                       Theatre in New Haven, CT., producer:
                                                       Gfour, the Greenblatts, the Cuillos in
                                                       association with TOC. [16 pages w/o Age
                                                       Test] DEF418-426

  Key to Objections                                 16
  * = Object that the material is only relevant to the extent that it exhibits material covered by
  Copyright Registration No. TX 6-371-779; A=Authenticity, C=Document not complete;
  Cum.=Cumulative; T=Document was not timely disclosed; R=Relevancy, H=Hearsay;
  UP=Unduly Prejudicial; P=Privileged; S=Summary. A blank indicates no objection.
Case 8:06-cv-01640-JDW-TGW Document 158 Filed 11/16/08 Page 17 of 27 PageID 3146



   Old   Trial     Date         Date       Witness     Description                                    Objections
         Exhibit   Identified   Admitted
         #
   144   161                                           Playbill for MTM from Carver Theatre in
                                                       Birmingham, AL., producer: Gfour, the
                                                       Cuillos in association with TOC. [16 pages
                                                       w/o Age Test] DEF1782-1797
   145   162                                           Playbill for MTM from Time-Union in
                                                       Jacksonville, FL., producer: Gfour, the
                                                       Glists, the Greenblatts, the Cuillos in
                                                       association with TOC. [8 pages w/o Age
                                                       Test] DEF1838-1845
   146   163                                           5/31/06 Playbill for MTM from Portland
                                                       Center for the Performing Arts Dolores
                                                       Winningstad Theatre in Portland, OR,
                                                       producer: Gfour, the Glists, the
                                                       Greenblatts, the Cuillos in association with
                                                       TOC. [8 pages no page numbers; w/o Age
                                                       Test] DEF1950-DEF1957
   147   164                                           5/31/06 Playbill for MTM performed at
                                                       Portland Center for Performing Arts in
                                                       Portland, Oregon, producer: Gfour, the
                                                       Glists, the Greenblatts, the Cuillos in
                                                       association with TOC. Opening Night
                                                       5/31/06. {8 pages w/o the Age Test}
                                                       PCP000001-PCP000008 A. Gist Depo.
                                                       Ex.Plt8
   148   165                                           9/27/06 Playbill for Menopause the
                                                       Musical performed in Jacksonville, Fl.,
                                                       producer: Gfour, the Glists, the
                                                       Greenblatts, the Cuillos in association with
                                                       TOC. 9/27/06 [8 pages w/o Age Test]
                                                       DEF0018-DEF0022
   149   166                                           4/14/04 Playbill for Menopause the
                                                       Musical performed at the Stuart Street
                                                       Playhouse in Boston, MA on 4/14/04,
                                                       producer: the Glists, the Greenblatts, the
                                                       Cuillos in association with TOC. [50
                                                       pages w/o Age Test] DEF0132- DEF0156
                                                       K. Gist Depo Ex.Plt17; Linders Depo. Ex.
                                                       6
   150   167                                           Playbill for MTM from the Robert and
                                                       Lorena Jaeb Theater in Tampa FL for
                                                       June/July 2007, producer: theater. [pages
                                                       12 - 19 w/o Age Test] DEF1606-1613
   151   168                                           Playbill for the musical Menopause The
                                                       Musical performed at Playhouse 91 in NY,
                                                       NY in 2006, producer: theater. [74 pages
                                                       w/o Age Test] DEF432-468




  Key to Objections                                 17
  * = Object that the material is only relevant to the extent that it exhibits material covered by
  Copyright Registration No. TX 6-371-779; A=Authenticity, C=Document not complete;
  Cum.=Cumulative; T=Document was not timely disclosed; R=Relevancy, H=Hearsay;
  UP=Unduly Prejudicial; P=Privileged; S=Summary. A blank indicates no objection.
Case 8:06-cv-01640-JDW-TGW Document 158 Filed 11/16/08 Page 18 of 27 PageID 3147



   Old   Trial     Date         Date       Witness     Description                                   Objections
         Exhibit   Identified   Admitted
         #
   152   169                                           Playbill for the Menopause musical
                                                       presented at the Malts Jupiter Theatre,
                                                       Jupiter, FL., producer: TOC. Page 6 has
                                                       the "Take the Age Test" with notation
                                                       "Attribution by Baby Boomer Head
                                                       Quarters -- WWW.BBHQ.COM". Quiz
                                                       has 24 questions. [8 pages with Age Test]
                                                       JJT441-448 Clouse Depo Ex. Jargon2;
                                                       Clouse Depo Ex. TOC16; Grant Depo
                                                       Ex.TOC 16; Thornton Depo Ex.24.
   153   170                                           Playbill for MTM from Maltz Jupiter
                                                       Theatre in Jupiter, FL., producer: TOC. [8
                                                       pages; no page numbers; with Age Test]
                                                       DEF1646-1653
   154   171                                           Playbill for MTM from Maltz Jupiter
                                                       Theatre, Jupiter, FL., producer: TOC. Page
                                                       6 has the "Take the Age Test" with
                                                       notation "Attribution by Baby Boomer
                                                       Head Quarters -- WWW.BBHQ.COM" [8
                                                       pages with Age Test] DEF755-762
                                                       Linders Depo Ex.19
   155   172                                           Playbill for MTM from Theatre 39, San
                                                       Francisco, producer: TOC. [8 pages with
                                                       Age Test] DEF747-754
   156   173                                           Box Office Reports DEF1011 -1058                  R

         174                                           11/29/06 Defendant's Disclosures Pursuant         R
                                                       to Rule26(a)(1) of the Federal Rules of
   157                                                 Civil Procedure
         175                                           2/7/07 Defendants' Response to Plaintiff's        R
   158                                                 First Set of Interrogatories
         176                                           2/8/07 Defendants' Amended Response to            R
   159                                                 Plaintiff's First Set of Interrogatories
         177                                           5/17/07 Defendants' First Supplemental            R
                                                       Responses to Plaintiff's First Set of
   160                                                 Interrogatories
         178                                           8/8/07 Defendants' Second Supplemental            R
                                                       Responses to Plaintiff's First Set of
   161                                                 Interrogatories
         179                                           9/24/07 TOC's Responses to Plaintiff's            R
   162                                                 First Set of Interrogatories
         180                                           10/15/07 Defendants' Third Supplemental           R
                                                       Responses to Plaintiff's First Set of
   164                                                 Interrogatories
         181                                           11/1/07 Defendants' Fourth Supplemental           R
                                                       Responses to Plaintiff's First Set of
   165                                                 Interrogatories
         182                                           Cost Analysis Part 1, Syracuse Stage,             R
   168                                                 summer 2006. [Coles depo #29]

  Key to Objections                                 18
  * = Object that the material is only relevant to the extent that it exhibits material covered by
  Copyright Registration No. TX 6-371-779; A=Authenticity, C=Document not complete;
  Cum.=Cumulative; T=Document was not timely disclosed; R=Relevancy, H=Hearsay;
  UP=Unduly Prejudicial; P=Privileged; S=Summary. A blank indicates no objection.
Case 8:06-cv-01640-JDW-TGW Document 158 Filed 11/16/08 Page 19 of 27 PageID 3148



   Old   Trial     Date         Date       Witness     Description                                   Objections
         Exhibit   Identified   Admitted
         #
         183                                           Cost Analysis Part 2, Syracuse Stage,             R
   169                                                 summer 2006. [Coles depo #30]
         184                                           Cost Analysis, Syracuse Stage, 2007.              R
   170                                                 [Coles depo #31]
   171   185                                           Detroit Ticket Sales Breakdown charts for      A, T, H
                                                       March 2004 - December 2006. GEM94-
                                                       95
         186                                           12/18/06 Sales Report indicating               A, T, H
                                                       $1,284,036.96 for Total Sales.
   172                                                 GEM000076-GEM000093
         187                                           5/8/07 Daily Sales Report V2, Ticket           A, T, H
                                                       Omaha Box Office Sales. Spreadsheet
                                                       indicating amounts for tickets sold and
                                                       proceeds. Gross minus facility rent = net
                                                       Gross of $296,532.50 for run of play MTM
   173                                                 from 3/1/07 thru 4/7/07. OPA00098
         188                                           Merchandise Settlement Sheet indicating        A, T, H
                                                       Net Sales amount and Omaha Performing
                                                       Arts commission on the sale of Menopause
   174                                                 the Musical merchandise. OPA97
   175   189                                           4/26/07 Transaction Detail by Account             R
                                                       spreadsheet by TOC Productions for the
                                                       year of 2004. Total amount $46,450.00.
                                                       DEF1008 Linders Depo Ex.22
   176   190                                           4/26/07 Transaction Detail by Account             R
                                                       spreadsheet by TOC Productions for the
                                                       year of 2005. Total amount $0.00.
                                                       DEF1009 Linders Depo Ex.22
   177   191                                           9/24/07 TOC Transaction Detail by                 R
                                                       Account: January through December 2004,
                                                       Receipts - Program Ad total $1,237.07.
                                                       DEF1059 Clouse Depo. Ex. TOC20;
                                                       Grant Depo. Ex.TOC20
   178   192                                           9/24/07 TOC Transaction Detail by                 R
                                                       Account: January 1 , 2004 through
                                                       September 24, 2007, Due From Advertisers
                                                       total $0.00. DEF1060 Clouse Depo
                                                       Ex.TOC20; Grant Depo. Ex.TOC20
   179   193                                           9/24/07 TOC Transaction Detail by                 R
                                                       Account: January through December 2004,
                                                       Receipts - Program Ads total $46,450.00.
                                                       DEF1061 Clouse Depo Ex.TOC20; Grant
                                                       Depo. Ex.TOC20
   180   194                                           9/24/07 TOC Transaction Detail by                 R
                                                       Account: January through December 2005,
                                                       Receipts - Program Ads total $0.00.
                                                       DEF1062 Clouse Depo Ex.TOC20; Grant
                                                       Depo. Ex.TOC20


  Key to Objections                                 19
  * = Object that the material is only relevant to the extent that it exhibits material covered by
  Copyright Registration No. TX 6-371-779; A=Authenticity, C=Document not complete;
  Cum.=Cumulative; T=Document was not timely disclosed; R=Relevancy, H=Hearsay;
  UP=Unduly Prejudicial; P=Privileged; S=Summary. A blank indicates no objection.
Case 8:06-cv-01640-JDW-TGW Document 158 Filed 11/16/08 Page 20 of 27 PageID 3149



   Old   Trial     Date         Date       Witness     Description                                   Objections
         Exhibit   Identified   Admitted
         #
   181   195                                           1/16/04 Category Detail Report (includes          R
                                                       gross sales) from 1/1/03 through 12/31/03.
                                                       DEF1948 – 1949
         196                                           5/27/07 Terms of Agreement with
   182                                                 Syracuse Stage. [Coles depo #15]
         197                                           5/18/06 Terms of Agreement with
   183                                                 Syracuse Stage. [Coles depo #16]
         198                                           5/18/08 Terms of Agreement with
   184                                                 Syracuse Stage. [Coles depo #17]
   185   199                                           7/20/05 Actors' Equity Association Special
                                                       Agreement - Menopause the Musical.
                                                       Expires 4/27/07 DEF1556-DEF1560
         200                                           3/16/04 GEM Theatre License Agreement
                                                       between Forbes Management, Inc. and
                                                       TOC Productions, Inc. GEM000009-
   188                                                 GEM000021 Grant Depo Ex.TOC11
   189   201                                           8/13/06 Performance-Event License
                                                       Agreement between Omaha Performing
                                                       Arts Society and TOC Productions,
                                                       executed. OPA00004-OPA00016 Grant
                                                       Depo. Ex.TOC15
   190   202                                           Trade Customs of the Printing Industry of         R
                                                       North America. DEF1947
   191   203                                           11/06 TOC Productions, Inc. Company               R
                                                       Employee Manual. Grant Depo. Ex. TOC
                                                       6
         204                                           7/2/07 email from J. Grant to D. Coles on         R
   192                                                 subject: Urgent!. DEF1945
         205                                           7/3/07 email from D. Coles to J. Grant on         R
   193                                                 subject: RE: Urgent!. DEF1946
         206                                           9/8/06 e-mail from P to J. Ruffner; J.            R
                                                       Poland on subject RE: Little more detail
   194                                                 here. Gardner Depo Ex.Plt13
   195   207                                           4/24/06 email exchange between Marti              R
                                                       Miller and LeeAnn Day on subject: Re:
                                                       MTM Tampa Program. DEF1004-
                                                       DEF1007 Miller Depo Ex.8
   196   208                                           9/14/06 email to J. Linders from M. Miller        R
                                                       on subject: Printed programs by TOC.
                                                       DEF0986 Miller Depo Ex.11
   197   209                                           01/22/07 email from B. Harlan to M.
                                                       Miller on subject: Program Count.
                                                       DEF1010 Clouse Depo Ex.TOC19;
                                                       Grant Depo Ex.TOC19; Linders Depo
                                                       Ex.25; Miller Depo Ex.12
         210                                           5/25/07 e-mail string between                    R, P
                                                       Legalpt@aolcom and D. Wasylik on
                                                       subject: Obtaining Archived emails on
   198                                                 behalf of a member DEF1960-DEF1961
  Key to Objections                                 20
  * = Object that the material is only relevant to the extent that it exhibits material covered by
  Copyright Registration No. TX 6-371-779; A=Authenticity, C=Document not complete;
  Cum.=Cumulative; T=Document was not timely disclosed; R=Relevancy, H=Hearsay;
  UP=Unduly Prejudicial; P=Privileged; S=Summary. A blank indicates no objection.
Case 8:06-cv-01640-JDW-TGW Document 158 Filed 11/16/08 Page 21 of 27 PageID 3150



   Old   Trial     Date         Date       Witness     Description                                    Objections
         Exhibit   Identified   Admitted
         #
   199   211                                           7/29/05 email from S. Myers to                 R, A, T, H
                                                       MenopauseMarti on subject: New
                                                       Playbills. GEM000062
         212                                           7/18/05 email from S. Myers to                 R, A, T, H
                                                       MenopauseMarti on subject: Detroit
   200                                                 Playbill Update. GEM000063
         213                                           4/22/05 email string between S. Myers and      R, A, T, H
                                                       Menopause@aol on subject: Detroit
   201                                                 Playbills. GEM000064-GEM000066
         214                                           4/26/05 email string between S. Myers and      R, A, T, H
                                                       Kim Whitehurst on subject: RE: Cast
                                                       Group Photos, Head Shots & Bios.
   202                                                 GEM000067-GEM000069
         215                                           4/8/05 Email, from S. Myers to                 R, A, T, H
                                                       MenopauseMarti on subject: Detroit
   203                                                 Playbills. GEM000070
         216                                           8/16/06 email exchange between S. Myers        R, A, T, H
                                                       and West Metro-Nick; West Metro Printing
                                                       on subject: RE: More Menopause The
   204                                                 Musical Programs. GEM000071
         217                                           8/9/06 email from S. Myers to West Metro-      R, A, T, H
                                                       Nick; West Metro Printing on subject:
                                                       Menopause The Musical Projects.
   205                                                 GEM000072
   206   218                                           6/6/06 email exchange between S. Myers         R, A, T, H
                                                       and Menopause Marti on subject: RE:
                                                       Detroit MTM Playbill. GEM000073-
                                                       GEM000074
   207   219                                           6/6/06 email exchange between S. Myers         R, A, T, H
                                                       and Menopause Martin subject: RE:
                                                       Detroit MTM Playbill. Scott Myers
                                                       provides the printer name, West Metro, and
                                                       their quote of $1,719.72. Also states
                                                       12,000 printed the same as current playbill.
                                                       GEM000075
         220                                           12/19/06 letter to E. Hurt of Omaha             R, T, H
                                                       Performing Arts Society from J. Grant
                                                       TOC Productions. OPA00003 Grant
   208                                                 Depo Ex.TOC15
   209   221                                           3/8/07 email to E. Hurd from J. Grant           R, T, H
                                                       stating she will call tomorrow to review the
                                                       settlement, the legal document is not
                                                       applicable to Hurd and the use of
                                                       interpreters. OPA0018 Grant Depo
                                                       Ex.TOC13
         222                                           2/21/07 email string between A. Reeves         R, A, T, H
                                                       and J. Secunda and E. Hurd on subject:
                                                       RE: Cash for per diems - out of box office?
   210                                                 OPA00019-OPA00020

  Key to Objections                                 21
  * = Object that the material is only relevant to the extent that it exhibits material covered by
  Copyright Registration No. TX 6-371-779; A=Authenticity, C=Document not complete;
  Cum.=Cumulative; T=Document was not timely disclosed; R=Relevancy, H=Hearsay;
  UP=Unduly Prejudicial; P=Privileged; S=Summary. A blank indicates no objection.
Case 8:06-cv-01640-JDW-TGW Document 158 Filed 11/16/08 Page 22 of 27 PageID 3151



   Old   Trial     Date         Date       Witness     Description                                   Objections
         Exhibit   Identified   Admitted
         #
         223                                           2/16/07 email from J. Grant to Ed Hurd         R, T, H
                                                       asking to agree to her normal merchandise
                                                       deal which is 80/20 venue sells, collects
   211                                                 and remits taxes. OPA00021
         224                                           2/13/07 email from J. Grant to E. Hurd         R, T, H
                                                       stating she will provide Production Stage
                                                       Manager, Daniel LeMein, to run the
                                                       lightboard, ASM/props, James Mitchell
                                                       and Deck/Wardrobe, Michael Horn.
   212                                                 OPA00022
         225                                           12/6/06 email string between E. Hurd and       R, T, H
                                                       J. Grant on Subject: RE: IATSE?.
   213                                                 OPA00023-OPA00025
         226                                           2/14/07 email string between G. Mixan and     R, A, T, H
                                                       E. Hurd on Subject: RE: Menopause the
                                                       Musical cast/crew apartments. OPA00026-
   214                                                 OPA00027
         227                                           Email from J. Grant to E. Hurd, on subject:    R, T, H
                                                       Menopause the Musical Lighting - Omaha.
   215                                                 OPA28-29.
         228                                           2/11/07 email string between J. Grant and      R, T, H
                                                       E. Hurd on subject: Addition to Omaha
                                                       housing. Discussion among Hurd and
                                                       Grant about rental of apartments for the
                                                       housing of the production employees.
                                                       {Note: only pages 1 and 2 of a 4 page
   216                                                 email} OPA00030-OPA00031
         229                                           2/22/07 email string between A. Bizelle       R, A, T, H
                                                       and S. Wilson on subject: RE: Need a radio
                                                       station for promotion. OPA00032-
   217                                                 OPA00033
         230                                           2/22/07 email string between J. Grant and      R, T, H
                                                       E. Hurd on subject: RE: Cash for per diems
                                                       - out of box office? OPA00034-
   218                                                 OPA00035
         231                                           2/8/07 email string between S. Wilson and     R, A, T, H
                                                       E. Hurd on subject: RE: We need help!.
                                                       Discuss about the theater's marketing
                                                       department's help in promoting the play
                                                       since out of 13,500 seats only 1,250
                                                       tickets have been sold. OPA00036-
   219                                                 OPA00037
         232                                           2/17/07 email from J. Grant to E. Hurd on      R, T, H
                                                       subject: Cash for per diems - out of box
   220                                                 office?. OPA00038
         233                                           1/4/07 Email from J. Grant to E. Hurd on       R, T, H
                                                       subject: FWD: Got the photos - more
   221                                                 questions? OPA00039-OPA00040


  Key to Objections                                 22
  * = Object that the material is only relevant to the extent that it exhibits material covered by
  Copyright Registration No. TX 6-371-779; A=Authenticity, C=Document not complete;
  Cum.=Cumulative; T=Document was not timely disclosed; R=Relevancy, H=Hearsay;
  UP=Unduly Prejudicial; P=Privileged; S=Summary. A blank indicates no objection.
Case 8:06-cv-01640-JDW-TGW Document 158 Filed 11/16/08 Page 23 of 27 PageID 3152



   Old   Trial     Date         Date       Witness     Description                                    Objections
         Exhibit   Identified   Admitted
         #
         234                                           1/4/07 email string between J. Grant and E.     R, T, H
                                                       Hurd on subject: RE:
                                                       Marketing/ticketing/on sale - Omaha!.
                                                       Discussion about the seating capacity and
                                                       seating chart. Ashleigh will be handling the
                                                       marketing/advertising. Grant's graphic
                                                       department will create the ads if Hurd's
   222                                                 staff will place. OPA00051-OPA00044
         235                                           2/21/07 Email from E. Hurd to J. Grant on       R, T, H
                                                       the subject of RE: Omaha-Press night?.
   223                                                 OPA00045
         236                                           List of dates and times of the shows for the   R, A, T, H
                                                       play Menopause the Musical. Date range
   224                                                 from 3/1/07 - 4/7/07. OPA96
   225   237                                           8/17/07 demand letter from R. McCrea, Jr.        R, UP
                                                       to M. Miller re removal of documents from
                                                       TOC. Miller Depo Ex.15
   226   238                                           8/22/07 letter from M. Miller to R.              R, UP
                                                       McCrea, Jr. enclosing documents with
                                                       FedEx air bill. Miller Depo Ex.16
         239                                           7/14/08 email to D. Coles from J. Hudak
                                                       on subject Fwd: 4/20/06 email from Marti
                                                       Miller on subject: RE: Syracuse Program.
   227                                                 [Coles depo #3]
         240                                           7/14/08 email to D. Coles from J. Hudak
                                                       on subject Fwd: 4/20/06 email to J. Hudak
                                                       from David Akins subject: Syracuse
   228                                                 Program. [Coles depo #4]
         241                                           10/12/07 email string to Dineen Wasylik            R
                                                       from D. Coles subject RE: Fwd: Syracuse
                                                       Stage response to TOC: Re: URGENT!.
   229                                                 [Coles depo #10]
         242                                           5/10/07 email string to Kebass@syr.edu,            R
                                                       cc: D. Coles, from J. Grant subject:
                                                       Program, with attached program. [Coles
   230                                                 depo #11]
         243                                           5/7/07 email string to J. Grant from D.            R
                                                       Coles subject: RE: Program Information ?.
   231                                                 [Coles depo #12]
         244                                           5/10/07 email string to Kyle Bass, J.              R
                                                       Hudak, Joe Whelan from D. Coles subject
                                                       Fwd: Program forwarding program from
   232                                                 TOC. [Coles depo #13]
         245                                           4/18/06 email string to J. Grant from D.           R
                                                       Coles subject RE: Program Billing and
   233                                                 Credits - Syracuse. [Coles depo #18]
         246                                           10/12/07 email string to Dineen Wasylik            R
                                                       from D. Coles subject RE: Fwd: 2007
   234                                                 Syracuse Program. [Coles depo #19]

  Key to Objections                                 23
  * = Object that the material is only relevant to the extent that it exhibits material covered by
  Copyright Registration No. TX 6-371-779; A=Authenticity, C=Document not complete;
  Cum.=Cumulative; T=Document was not timely disclosed; R=Relevancy, H=Hearsay;
  UP=Unduly Prejudicial; P=Privileged; S=Summary. A blank indicates no objection.
Case 8:06-cv-01640-JDW-TGW Document 158 Filed 11/16/08 Page 24 of 27 PageID 3153



   Old   Trial     Date         Date       Witness     Description                                   Objections
         Exhibit   Identified   Admitted
         #
         247                                           10/12/07 email string to D. Coles from D.         R
                                                       Wasylik subject RE: FW: 2007 Syracuse
   235                                                 Program. [Coles depo #20]
         248                                           10/12/07 email to D. Coles from D.                R
                                                       Wasylik subject: Declaration of Diana
                                                       Coles, with attached first draft of
   236                                                 declaration. [Coles depo #21]
         249                                           10/12/07 email to D. Coles from D.                R
                                                       Wasylik subject: Declaration of Diana
                                                       Coles, with attached second draft of
   237                                                 declaration. [Coles depo #22]
         250                                           10/12/07 email to D. Wasylik from D.              R
                                                       Coles subject: Declaration of Diana Coles.
   238                                                 [Coles depo #23]
         251                                           10/12/07 email to D. Wasylik from D.              R
                                                       Coles subject: Revised Declaration of
                                                       Diana Coles, with attached final draft
   239                                                 declaration. [Coles depo #24]
         252                                           10/12/07 fax cover sheet to D. Wasylik            R
                                                       from D. Coles faxing signed declaration
   240                                                 with said declaration. [Coles depo #25]
         253                                           10/12/07 email string to D. Wasylik from          R
                                                       D. Coles subject: FWD: Email from TOC
                                                       URGENT? Forwarding 7/2/07 email from
                                                       J. Grant which states Age Test cannot be in
   241                                                 the program. [Coles depo #26]
         254                                           10/12/07 email to D. Wasylik from D.              R
                                                       Coles subject: Fwd: Syracuse Stage
                                                       Response to TOC: RE: URGENT!
                                                       Forwarding 7/3/07 D. Coles reply email to
                                                       J. Grant that states she instructed House
   242                                                 Manager to remove test. [Coles depo #27]
         255                                           2006 Syracuse Program to Marketing Dept.        R, H
   243                                                 [Coles depo #28]
   244   256                                           Facts about the Syracuse Stage audience,       A, H, R
                                                       2007-2008 Contract and Rate Sheet,
                                                       Playbill Advertisement Deadlines. Londre
                                                       Depo. Ex. Def.5
   245   257                                           Press Release for “Menopause the                H, R
                                                       Musical” titled “HRT Not an Issue with
                                                       National Hit.” Londre Depo. Ex. Def.65
   246   258                                           4/20/07Index page and Contact page from
                                                       website of www.menopausethemusical.
                                                       Londre Depo. Ex. Def.59
         259                                           Fact sheet about Syracuse Stage; 2007 -           R
                                                       2008 contract rate sheet; Playbill
                                                       Advertisement Deadline schedule. [Coles
   248                                                 depo #8]


  Key to Objections                                 24
  * = Object that the material is only relevant to the extent that it exhibits material covered by
  Copyright Registration No. TX 6-371-779; A=Authenticity, C=Document not complete;
  Cum.=Cumulative; T=Document was not timely disclosed; R=Relevancy, H=Hearsay;
  UP=Unduly Prejudicial; P=Privileged; S=Summary. A blank indicates no objection.
Case 8:06-cv-01640-JDW-TGW Document 158 Filed 11/16/08 Page 25 of 27 PageID 3154



   Old   Trial     Date         Date       Witness     Description                                        Objections
         Exhibit   Identified   Admitted
         #
         260                                           Declaration of D. Coles, executed and
   249                                                 filed. [Coles depo #2]
         261                                           3/15/07 Script of the play Menopause The
                                                       Musical, Book and Lyrics by Jeanie
                                                       Linders. Copyright PAU2-545-888
   250                                                 OPA00046-OPA00095
         262                                           6/21/07 Declaration of J. Linders in
                                                       Support of Defendants’ Opposition to
                                                       Plaintiff’s Motion to Compel Interrogatory
                                                       Answers and Document Production and
                                                       Memorandum of Law in Support. Linders
   251                                                 Depo. Ex. 2
         263                                           2/5/07 Insurance Certificate indicating        R, T, Rule 411, A, H
                                                       coverage for insured TOC Productions and
                                                       Omaha Performing Arts during the shows
                                                       of March 02, 2007 - April 07, 2007.
   252                                                 OPA00017
   253   264                                           9/15/07 MTM List of Corporate Staff
                                                       Linders Depo. Ex. 1
   254   265                                           9/15/07 MTM Contact Us webpage.
                                                       Linders Depo. Ex. 11
   255   266                                           9/27/07 Print from
                                                       menopausethemusical.com main page
                                                       listing corporate staff. DEF1225
   256   267                                           A. Gist handwritten list of cities re               A, Cum.
                                                       programs. A. Gist Depo. Ex. Plt.9.
   257   268                                           Magazine titled FootLights, early spring
                                                       2007 issue, Madison, WI. DEF1734-1749
   258   269                                           Parts of text/contents i.e. credits; list of
                                                       cast, summary of story of play etc. of a
                                                       playbill, producer: TOC. DEF1589-1605
   259   270                                           Parts of text/contents i.e. credits; list of
                                                       cast, summary of story of play etc. of a
                                                       playbill, producer: TOC. DEF1573-1588
         271                                           Verified Complaint in J. Jargon v.                    T, R
   260                                                 Entertainment Events, 2/26/04
         272                                           Corporation information on TOC                          R
                                                       Productions, Inc. from website of FL
   262                                                 Secretary of State
         273                                           2008 Annual Report of TOC Productions,                  R
   263                                                 Inc. filed with FL Secretary of State
         274                                           Corporation information on J. Jargon                    R
                                                       printed from website of FL Secretary of
   264                                                 State
         275                                           Incorporation of J. Jargon filed with FL                R
   265                                                 Secretary of State
         276                                           2008 Annual Report of J. Jargon filed with              R
   266                                                 FL Secretary of State

  Key to Objections                                 25
  * = Object that the material is only relevant to the extent that it exhibits material covered by
  Copyright Registration No. TX 6-371-779; A=Authenticity, C=Document not complete;
  Cum.=Cumulative; T=Document was not timely disclosed; R=Relevancy, H=Hearsay;
  UP=Unduly Prejudicial; P=Privileged; S=Summary. A blank indicates no objection.
Case 8:06-cv-01640-JDW-TGW Document 158 Filed 11/16/08 Page 26 of 27 PageID 3155



   Old   Trial     Date         Date       Witness     Description                                   Objections
         Exhibit   Identified   Admitted
         #
         277                                           Corporation information on TOC                    R
                                                       Entertainment and Marketing, Inc. from
   267                                                 FL Dept of State
         278                                           Incorporation of TOC Entertainment and            R
                                                       Marketing, Inc. filed with FL Secretary of
   268                                                 State
         279                                           2008 Annual Report of TOC Entertainment           R
                                                       and Marketing, Inc. filed with FL Secretary
   269                                                 of State
         280                                           Corporation information on YAC                    R
                                                       Productions, Inc. printed from website of
   270                                                 FL Secretary of State
         281                                           Incorporation of YAC Productions filed            R
   271                                                 with FL Secretary of State
         282                                           2007 Annual Report of YAC filed with FL           R
   272                                                 Secretary of State
         283                                           Corporation information on TOCLA from             R
   273                                                 California Secretary of State
   274   284                                           Printers Invoices DEF1062-1299                    R
   275   285                                           8/10/06 Certificate of Registration of The       R, *
                                                       Official Baby Boomer Qualifying Exam,
                                                       effective 8/10/06, with The Official Baby
                                                       Boomer Exam. (29 questions) Thornton
                                                       Depo Ex.10; Thornton Declaration Ex. 6
   276   286                                           9/20/99 Letter from J. Thornton to Library        C
                                                       of Congress attaching copy of The Official
                                                       Baby Boomers Qualifying Exam (29
                                                       questions). JJT416-419 Thornton Depo
                                                       Ex.5
   277   287                                           6/1/07 Certificate of Registration of The        R, *
                                                       Official Baby Boomer Qualifying Exam
                                                       with 1997 The Official Baby Boomer
                                                       Qualifying Exam. (29 questions) Miller
                                                       Depo Ex.13; Thornton Declaration Ex.7
   278   288                                           5/31/07 Application from M. Colitz to            R, *
                                                       USCO to correct first publication date from
                                                       June 1, 1995 to June 15, 1997. JJT0428-
                                                       JJT0431
   279   289                                           8/10/06 Additional Certificate – USCO            R, *
                                                       Certificate of Registration, # TX6-371-779
                                                       of Work Titled "The Official Baby Boomer
                                                       Qualifying Exam," effective 8/10/06,
                                                       provided to Colitz. (29 questions)
                                                       DEF0974-DEF0978. Grant Depo
                                                       Ex.TOC3




  Key to Objections                                 26
  * = Object that the material is only relevant to the extent that it exhibits material covered by
  Copyright Registration No. TX 6-371-779; A=Authenticity, C=Document not complete;
  Cum.=Cumulative; T=Document was not timely disclosed; R=Relevancy, H=Hearsay;
  UP=Unduly Prejudicial; P=Privileged; S=Summary. A blank indicates no objection.
Case 8:06-cv-01640-JDW-TGW Document 158 Filed 11/16/08 Page 27 of 27 PageID 3156



   Old    Trial     Date         Date       Witness     Description                                  Objections
          Exhibit   Identified   Admitted
          #
          290                                          Demonstrative Trial Exhibit: An
                                                       Enlargement of the Playbill for the
                                                       Performance of the Musical at the E.14th
                                                       Street Playhouse in Cleveland (Lon Depo.
                                                       14)
          291                                          Demonstrative Trial Exhibit: An
                                                       Enlargement of the Playbill for the
                                                       Performance of the Musical at the Syracuse
                                                       Stage (Lon Depo Ex.15)



                                      CERTIFICATE OF SERVICE

         I hereby certify that on October 31 , 2008 a true and correct copy of the foregoing was
  furnished via electronic mail to: G. Donovan Conwell, and Dineen Wasylik Conwell, Sukhia &
  Kirkpatrick, P.A., 2701 N. Rocky Point Drive, Suite 1200, Tampa, FL 33607 (fax# 813-282-
  8800); Mark Goldstein, Wolfe & Goldstein, P.A., 100 S.E. Second Street, Suite 3300, Miami,
  Florida 33131.




                                                 Respectfully submitted,

                                                 s/Michael J. Colitz, III

                                                 Michael J. Colitz, III
                                                 Florida Bar No. 164348
                                                 Stefan V. Stein
                                                 Florida Bar No. 300527
                                                 Holland & Knight LLP
                                                 100 N. Tampa Street
                                                 Suite 4100
                                                 Tampa, FL 33601-3644
                                                 Tel: 813/227-8500 Fax: 813/229-0134

  # 5762639_v1




  Key to Objections                                 27
  * = Object that the material is only relevant to the extent that it exhibits material covered by
  Copyright Registration No. TX 6-371-779; A=Authenticity, C=Document not complete;
  Cum.=Cumulative; T=Document was not timely disclosed; R=Relevancy, H=Hearsay;
  UP=Unduly Prejudicial; P=Privileged; S=Summary. A blank indicates no objection.
